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        Exhibit 3
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                                     IN THE UNITED STATES DISTRICT COURT 

                                         FOR 'THE DISTRICT Of MARYLAND 



          Dcbfl<   .I,   Brent, 


                               Pbintiff, 


                    v.                                                                  Ca!>c No. S:14-cv-01705-PWG

          Prior iry 1 Automotive Croup. Inc., cl al.                              )
                                                                                  )
                               Defend.ant!!.                                      )

         ----------------)

                                     RULE 56(D) DECLARATION OF MS. DEBRA:BREN'l'

                    T, M~. Dr.:br:.. Brent, hcreby m:l.ke this Declaration In support of PlaintllTs Supplemental

          Memorandum. in 0ppot-;irion ro Dcfcndllnfs' Moti(Jn [[) Dismiss and Compel 1\ rhirrarion, filed in the

          ~bove-C:lptioocd      matter.

           1) 	 1 am over the ::tb>C of eighteen (1 R)   ~nd    am otherwise competent co make this Dedamtl(lll on my

               own behalf. Th(; infurmation wnt;tincd in this Dc:damtion is basc.:d on t;l\:ts within my pcr$OnaJ

               knowledge. and is a<:curatc to the        bc~t   of my rcr~onnl knowledge, records, and per~onal

               recollection,

           2) 	 Defendants h,tvc not p1"fwidcd a complete copy of ~hcir i-':rnploycc Handbook either in their

               papers filed with the Court or to my artorncys. Dcfcnda.nts shol1W provide both the version of

               th<: Employee: lllUldbook which was          iIlll~e:   un March 19.2012, and the one currcndy in use.

               The earlier version is nealal tu pruvide context             to   the "accompanying" disputc rcsolu cion policy

               which Defendants allege I signed, while the I:Hct v4.:t:sion is needed to aide in               eva1~t:ing   the

               ~mbiguitics     prcsen( i.n Defendants' ilisplltt:      re~olutjon     policies.

           3) 	 Defendants have not produc~d rdevant information rC[J=lrding m)' allcgefi "e-signnl111'(,," of th".

               Empluyee Handbuuk and the allegedly "accompanying" "Dispute Resoluti(ln via :\rbitration




                                                                  P"b>1.-l of 4
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          4) Am~)C1~ the lnformari.ol1 which dcfi:nda.nt~ h!lvl: not pTu"jueJ IS the foUowing~

                       ll.    Information rcga.rJing the relin.bi.1ity of th~ compL1ter(s) used by Defendants alS part

                              ofthcir c-signatuTc Koftw:~re program, borh ~t prc:;em and on March IY, 2U12, to

                              verify chat no dam was crrom'{'\ltdy ddewd, al~crtd , aJJeJ to, or a.SSOC1J.t~ with

                              wbat Defendants allege was my 'lfii(]uc uSc:r II);

                       G. 	 The identic}' of Dcfendants'              c-~ign:1turc ~()ftw:w.:   program on March 19,2012, so that

                              \1/(:   call dcrcrminc if the pros'!am       wa~   pr')pcrly configured. to correclly t.'Ccurd rhc

                              intcnckc1 inputs;

                       c. 	 The: identity of Defendants' current <;-~ignatutt softw;ue program so (hat we can

                              determine iJ che ,Jril-,rinfll $Oflware program was properly prescrveJ for inspection fo,­

                              possible defects which           cod Ie] conraminatc the intended jnpul:~;
                       U. 	 The.:      pT<)c;;cdurc;(~)   useJ LY'   Dcfcodant~   at prc$cnt and on Marcb 11).2012 For

                              recording (hIl;t in the alleged "E-:>igoatul'e J.og" (the "Log") allegedly m.:1.intaim.:d by

                              Priority 1;

                       L_ 	   The saf~gLlard:<;, il' <l11Y, posse::,.>;cd by Defendants' e-sign:tturc ~oftwatc and associated

                              computer        hardw~ire     to ensure accuracy ofinfo,mati(Jn        r~:c()rckd   and   to   identify and

                              correct      error~   both at present and on March] 9. 2012,;

                       f. 	 Thl,; " ..cps [akcn hy Defendants to             maint~irl   l:he c-:;ign:1curc software and      a~:;ociatcd


                              CC)mpLl£er hardware ~incc; March 19, 2012;

                       g. 	 FvidcnCl: that the e-signarurc software and associated comput<.:r hardwiuc wa!i in

                              workinp: order at the rjmc: it allegedly recorded my c-signaturc;

                       h. 	 The m:tnncr in which the clata contained in the Log ha~ been stored at all time.:~ since.:

                              Mar:ch 19, 2012;




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                 1.   1£ the: dat'l 1',huwI1m the I.ol!: is conmincd in a d\ltl1bll!'>e, how that datahal'.c W.L~

                      querit:d by Dt;f'r:nJants to pf(')dLlC('; the Log pwvidcd by De[end\l(lr~~

                 j,   Wh:H, if :1 fly. nrh~r data is ur, l'Oincc March "j 9, 20'12, ba~; heen stored by til'.: Lc)g aild

                      t.hc databa::;c hom wh.i.ch the Log was created;

                 k.   How the phy~jcal version of the Log providni hy Defendants was prepared and

                      cr~atcd;


                 I.   An}" procedures governing aeee:;:;           to     tlx: data which      w:\.c;   1.lscci   to   create the Log

                      between March of 2(112 and the present                  d~y;


                 m, Access or auJir records which identify each access of, and changc m"dc to, the Jata

                      Hored in     dlC   dat;lbasc or Log bctwccn Mnrch of 2012 and the,; present (by;

                 n.   Tnfonnation rChr:lrding whether the computer useJ to produce the Log was in proper

                      working     01"<1C1'   when it produced the J,og;

                 o. An e):r~;~nl1ti()n of the categories of dara c(lfltwnt'd in the J .og. Thi~ explanation

                      should address the tan thal, while            l)cFcodant~         maintain I accessed ::Ind dccrronically

                      5~>ncd   sb: c1ocumenrs, chI: Lug 1,.:\)nl:UllS unly one "viewcd_d:nc" one                               «.si~rncd_datl:";


                 p,   How ::Icer:::;s to thl! darabast: 'imd c-:,jt-,rr'lature program is administrativdy controlled,

                      which inJividtlal(s) are authorized          t()    access the datab-asi.:, which individuals have the

                      pOWL:r to access ['he datahase, which ir1dividLl;ll(s) :lrc permitted to accesS w<ct Jata

                      (including passwor.ds), which ind.ividuals have the power to acces~                                    UhCl   oat:l.


                      (inc.luding passwords), which individuals can view, changr.:, Or                            r~:Sr.:f   user    ra~ swords,


                      and which indivirlual(:.;) have toot         OJ:'   ~Idroini:;trlltive   rights to the machillc(~) on which

                      the,; Log   je. mainrainc..:d, a~   well as all policies and proced ures relateJ                       [0   these matters:

                 q, I low changes in the          databa~c;   arc log,s'Ld    DJ:'   recorded;




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                          r. 	 A descr.(ptjc.ln of the nudit procCliLlrcii tl~cJ by Dd-.nd:Lnts        to   enstl1:c rhe jmc~'T.,ity of

                                 the darabast:;

                          s. 	   A de~crjption of afJ~ changes made to any          recotJ.~   rehlted to me in the datlb;I1iC AiJ)ce

                                 itg creation; and

                          t. 	   An unn.:dactcd ver~iOD of the L()g,

         5) 	 D<.:pcnding on Dd<:ndants' respons<.:s to the alJove             qucstioo~,      it may also be necessary fur

             Dcft:ndant~         [0   make availa.ble for my lnL'pt:(..;ion a working vcr~ioo of rile e-signamrc program

             fWlctionally identical to that in u~(; by Defendaob on or aLJollt March 19, 2012.

         0) 	 Depending on Defendants' rcspont;es to the abov~ quCStiOD5, it may be ncc<:~~ary (or

             Ddcndanls to produce for inspection th<.: uncompill:J source coele of the c·&ignature p(()~"Iam

             m;cd by Defendant:s un or about March 19,2012,

         7) 	 Depcniling 011 Defendant.s' responses to the            ~bovc: Llut:~tions,      it may be necessary for

             Defeodann; to make one or morc witnc:~s(es) av:Ulab.lc pursuant: ro F<.:dcra.1 Rule of Civil

             Pwct.:dun: .10(b)(G) wbo are gualified to tc~tify regarding the ab()ve: matters,

         H) 	 All of thc above; items are necc:;sary for this COLlrl to rule upon. and for my counsel                     to   be able

             to fully address, all of the disputed issues of arbitmbility which art:: raised in the aboVc-Cilptioned

             !ll:tttct.




             I Jl.:clarc under p<:nalry of perjury th~t the foregoing is tnlc anu c(!rreCl.




                                                                                                    N00t~'V\r},        C \     Ii ·~O I l/
                                                                                                   Date




         Tnitials 	                                              Pa)..,'t: 4 of 4
